             Case 1:23-cv-10134-DJC Document 46 Filed 06/15/23 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



AARON GREENSPAN,

           Plaintiff,

      v.
                                                            Case No.: 1:23-cv-10134-DJC
DIEGO MASMARQUES, JR. a/k/a DIEGO
MAS HOWARD a/k/a RICKY MAS MARQUES
a/k/a JACK JONES, SERGEI IGOREVICH
KUDRIAVTSEV, and MEDIOLEX, LTD.,

           Defendants.



               PLAINTIFF’S MOTION TO STRIKE AND SEAL ECF NO. 34 AND
                           ALL FURTHER SIMILAR FILINGS


I.         Introduction

           Pursuant to Federal Rule of Civil Procedure (“Rule”) 12(f), Plaintiff Aaron Greenspan

(“Plaintiff”) hereby moves this Court to strike the documents filed by Defendant Diego

MasMarques, Jr. as ECF No. 34 and attachments. Rule 12(f) permits the Court to strike “any

redundant, immaterial, impertinent, or scandalous matter.” Defendant MasMarques’s 12-page

declaration is functionally no different than ECF No. 28, which the Court struck from the record

as “not in support of any motion or otherwise appropriate for filing at this juncture.” ECF No.

41.

II.        Procedural History

           The Complaint in this action was filed on January 20, 2023. ECF No. 1. Plaintiff

requested that a similar set of documents, ECF No. 28, be struck on April 20, 2023. ECF No. 30.



                                                  1
            Case 1:23-cv-10134-DJC Document 46 Filed 06/15/23 Page 2 of 3




Plaintiff filed a reply brief in support of that motion requesting that any future similar filings also

be struck on May 3, 2023. ECF No. 32. The Court granted Plaintiff’s motion to strike ECF No.

28 on June 14, 2023. ECF No. 41.

III.   Argument

       For the same reasons outlined in ECF Nos. 30 and 32, Plaintiff requests that ECF No. 34

and attachments be struck from the record and sealed. ECF Nos. 30 and 32 are hereby

incorporated by reference.

IV.    Conclusion

       Plaintiff respectfully requests that ECF No. 34 (including attachments) and all similar

future filings be struck from the record and be sealed or restricted from public viewing.



Dated: June 15, 2023                   Respectfully submitted,




                                       Aaron Greenspan, pro se
                                       956 Carolina Street
                                       San Francisco, CA 94107-3337
                                       Phone: +1 415 670 9350
                                       Fax: +1 415 373 3959
                                       E-Mail: aaron.greenspan@plainsite.org


             CERTIFICATION PURSUANT TO CIVIL LOCAL RULE 7.1(a)(2)

       I certify that I contacted the Defendants in this action and/or their representatives via e-

mail on June 14, 2023 and informed them of my intent to request the above relief. I received no

response.




                                       Aaron Greenspan, pro se


                                                  2
          Case 1:23-cv-10134-DJC Document 46 Filed 06/15/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2023 I filed the foregoing with the Clerk of Court using

the CM/ECF system, and delivered true and correct copies of the foregoing to the defendants in

this action as follows:

CM/ECF
Diego MasMarques, Jr.
dmas5@protonmail.com

E-Mail
Mediolex Ltd.
legal@complaintsboard.com
editor@complaintsboard.com
editor.complaintsboard@gmail.com

Sergei Igorevich Kudriavtsev
ivestules@gmail.com




                                     Aaron Greenspan
